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UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
APPEARANCE OF COUNSEL FORM

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[v Retained [_]Court-appointed(CJA) [JCJA associate [_]Court-assigned(non-CJA) [7 ]Federal Defender

[_]Pro Bono [~]Government

COUNSEL FOR: Elizabeth Goldberg, Hannah Roher, Maria Hagen, Christine Sajecki, Joshua C.

Tohn, Benjamin Roberts, JOhn Ralston, and Myriam Ralston as the
(party name)
appellant(s)| W |appellee(s) petitioner(s) respondent(s) amicus curiae intervenor(s) movant(s)
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